
In re Tobias, Eugene; —Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. I, No. 286-384.
Granted for the sole purpose of transferring the application to the Court of Appeal, Fourth Circuit, for its consideration. See La. Const, art. V., Section 5(E) (Supreme Court has appellate jurisdiction under this section “only when order of appeal [was] entered prior to July 1, 1982”); State v. Walker, 571 So.2d 165, 166 (La.1990) (ap*1013peal of pre-1982 conviction with order of out-of-time appeal dating from after July 1,1982 lies in court of appeal).
